Case 5:15-cr-00018-RWS-CMC             Document 683       Filed 09/06/16      Page 1 of 2 PageID #:
                                             2339


                             United States District Court
                                    EASTERN DISTRICT OF TEXAS
                                       TEXARKANA DIVISION




 UNITED STATES OF AMERICA                         §
                                                  §
 V.                                               §           CASE NO. 5:15CR18(3)
                                                  §
 KYLE DAVIS                                       §



                                  ORDER ADOPTING
                          THE REPORT AND RECOMMENDATION
                       OF THE UNITED STATES MAGISTRATE JUDGE



           The above-styled matter was referred to the Honorable Caroline M. Craven, United States

 Magistrate Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal

 Procedure. Judge Craven conducted a hearing in the form and manner prescribed by Federal Rule

 of Criminal Procedure 11 and issued her Amended Report and Recommendation (document # 671)

 on August 30, 2016. Judge Craven recommended that the Court accept Defendant’s guilty plea and

 conditionally approve the plea agreement. She further recommended that the Court finally adjudge

 Defendant as guilty of Count 1 of the Indictment filed against Defendant in this cause.

           On September 6, 2016 the parties informed the Court that objections are waived to the

 magistrate judge’s findings.      The Court is of the opinion that the Amended Report and

 Recommendation should be accepted. It is accordingly ORDERED that the Amended Report and

 Recommendation of the United States Magistrate Judge (document #671) is ADOPTED. It is

 further

           ORDERED that the Defendant’s guilty plea is accepted and approved by the Court. Further,

 the plea agreement is approved by the Court, conditioned upon a review of the presentence report.
Case 5:15-cr-00018-RWS-CMC          Document 683       Filed 09/06/16     Page 2 of 2 PageID #:
                                          2340

 It is finally

         ORDERED that, pursuant to the Defendant’s plea agreement, the Court finds the Defendant

 GUILTY of Count 1 of the Indictment in the above-numbered cause and enters a JUDGMENT

 OF GUILTY against the Defendant as to Count 1 of the Indictment.

           SIGNED this 6th day of September, 2016.



                                                          ____________________________________
                                                          ROBERT W. SCHROEDER III
                                                          UNITED STATES DISTRICT JUDGE




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